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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-24274-CIV-ALTONAGA

 DAWN MICHELLE FRENCH,

        Plaintiff,
 v.

 LIFE INSURANCE COMPANY OF
 NORTH AMERICA,

       Defendant.
 _____________________________/

                                              ORDER

        THIS CAUSE came before the Court sua sponte. On December 7, 2021, Plaintiff, Dawn

 Michelle French, filed a Complaint for Disability Benefits [ECF No. 1] asserting three claims for

 relief. (See id. ¶¶ 32–38). Upon review of the Complaint, the Court concludes it must be dismissed

 for the reasons explained below.

        “[A] district court does, and indeed must, have the power to control and direct the cases on

 its docket.” Burden v. Yates, 644 F.2d 503, 505 (5th Cir. Unit B 1981) (alteration added; citations

 omitted). This includes the inherent power to dismiss a case. See id. And it includes the power

 to dismiss a case sua sponte when the plaintiff fails to comply with procedural rules. See Hanna

 v. Florida, 599 F. App’x 362, 363 (11th Cir. 2015) (citing Fed. R. Civ. P. 41(b); Chambers v.

 NASCO, Inc., 501 U.S. 32, 48–49 (1991)).

        Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a “short and plain

 statement of the claim” showing that the pleader is entitled to relief. Fed. R. Civ. P. 8(a)(2).

 Thereunder, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

 to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell
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 Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The complaint must “give the defendant fair

 notice of what the claim is and the grounds upon which it rests[.]” Twombly, 550 U.S. at 555

 (alteration adopted; other alteration added; citation and quotation marks omitted).

        “Complaints that violate [] Rule 8(a)(2) . . . are often disparagingly referred to as ‘shotgun

 pleadings.’” Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1320 (11th Cir. 2015)

 (alterations added). A “shotgun complaint contains several counts, each one incorporating by

 reference the allegations of its predecessors, leading to a situation where most of the counts (i.e.,

 all but the first) contain irrelevant factual allegations and legal conclusions.” Strategic Income

 Fund, L.L.C. v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293, 1295 (11th Cir. 2002). A shotgun

 pleading makes it “virtually impossible to know which allegations of fact are intended to support

 which claim(s) for relief.” Anderson v. Dist. Bd. of Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364,

 366 (11th Cir. 1996). Therefore, “shotgun pleadings are routinely condemned by the Eleventh

 Circuit.” Real Estate Mortg. Network, Inc. v. Cadrecha, No. 8:11-cv-474, 2011 WL 2881928, at

 *2 (M.D. Fla. July 19, 2011) (citing Pelletier v. Zweifel, 921 F.2d 1465, 1518 (11th Cir. 1991)).

        The Complaint here is a quintessential shotgun pleading, violating Rule 8(a)(2). The

 Complaint contains three counts, each of which “incorporates the allegations contained in [the

 preceding paragraphs and prior Counts] as if fully stated herein[.]” (Compl. 5, 6–7 (alterations

 added)). For example, Count II, which concerns long-term disability benefits, incorporates Count

 I, which concerns short-term disability benefits. (See id. 6). This is precisely the kind of shotgun

 pleading the Eleventh Circuit has repeatedly condemned, as “[t]he result is that [the second and

 third] count[s] [are] replete with factual allegations [and legal conclusions] that could not possibly

 be material to th[ose] specific count[s].” Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir.

 2001) (alterations added). The Court is “unwilling to address and decide serious [] issues on the



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 basis of this [C]omplaint.” Id. (alterations added).

        Accordingly, it is

        ORDERED AND ADJUDGED that the Complaint [ECF No. 1] is DISMISSED without

 prejudice. Plaintiff has until December 15, 2021 to submit an amended complaint curing the

 foregoing deficiencies. The submission of another shotgun pleading will result in the entry of an

 order of dismissal without prejudice.

        DONE AND ORDERED in Miami, Florida, this 8th day of December, 2021.



                                                  _________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE

 cc:    counsel of record




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